23-51733-cag Doc#9 Filed 12/27/23 Entered 12/27/23 08:23:48 Main Document Pg 1 of 2




                            UNITED STATES BANKRUPTCY COURT
                               WESTERN DISTRICT OF TEXAS
                                  SAN ANTONIO DIVISION

   IN RE:                                                                 CASE NO.: 23-51733-cag
                                                                                  CHAPTER 13
   Roy Dennis Serna,
     Debtor.

   _________________________________/

                                    REQUEST FOR SERVICE
         PLEASE TAKE NOTICE THAT the undersigned hereby appears on behalf of
  LAKEVIEW LOAN SERVICING, LLC ("Secured Creditor"). Pursuant to Rule 2002 of the
  Federal Rules of Bankruptcy Procedure, the undersigned requests all notices given or required to
  be given and all papers required to be served in this case to creditors, any creditors committees,
  and any other parties-in-interest, be sent to and served upon the undersigned and the following be
  added to the Court's Master Mailing List:
            ROBERTSON, ANSCHUTZ, SCHNEID, CRANE & PARTNERS, PLLC
                         13010 MORRIS ROAD, SUITE 450
                             ALPHARETTA, GA 30004

                                                Robertson, Anschutz, Schneid, Crane &
                                                Partners, PLLC
                                                Authorized Agent for Secured Creditor
                                                13010 Morris Road, Suite 450
                                                Alpharetta, GA 30004
                                                Telephone: 470-321-7112

                                                By: /s/George Dunn
                                                    George Dunn
                                                    Email: gdunn@raslg.com
23-51733-cag Doc#9 Filed 12/27/23 Entered 12/27/23 08:23:48 Main Document Pg 2 of 2




                                  CERTIFICATE OF SERVICE

             I HEREBY CERTIFY that on December 27, 2023, I electronically filed the
  foregoing with the Clerk of Court using the CM/ECF system, and a true and correct copy has
  been served via United States Mail to the following:

  ROY DENNIS SERNA
  5646 HOLLY HOLW
  SAN ANTONIO, TX 78266-4426

  And via electronic mail to:

  LAW OFFICE OF CENNAMO & WERNER
  8546 BROADWAY, STE 100
  SAN ANTONIO, TX 78217

  MARY K VIEGELAHN, CHAPTER 13 TRUSTEE
  10500 HERITAGE BLVD, SUITE 201
  SAN ANTONIO, TX 78216


                                                   By: /s/ Amanda Nelson
